July 03, 2009


Mr. R. Brent Cooper
Cooper &amp; Scully, P.C.
900 Jackson Street,  Suite 100
Dallas, TX 75202


Honorable  Nancy  A.  Thomas
160th Judicial District Court
600 Commerce Street, Suite 640
Dallas, TX 75202
Mr. William M. Hayner Jr.
William M. Hayner &amp; Associates
2929 Carlisle Street, Suite 220
Dallas, TX 75204

RE:   Case Number:  06-0491
      Court of Appeals Number:  05-05-01663-CV
      Trial Court Number:  03-9170-H

Style:      IN RE  BAYLOR MEDICAL CENTER AT GARLAND

Dear Counsel:

      Today the Supreme Court of Texas issued opinions the  above-referenced
cause.     You    may    obtain    a    copy    of    the    opinions    at:
http://www.supreme.courts.state.tx.us/historical/recent.asp.  If  you  would
like  the   opinions   by   email,   please   contact   Claudia   Jenks   at
claudia.jenks@courts.state.tx.us or call (512)463-1312 ext. 41367.


                                       Sincerely,
                                       [pic]


                                       Blake A. Hawthorne, Clerk


                                       by Claudia Jenks, Chief Deputy Clerk
Enclosures
|cc:|Ms. Lisa Matz|
|   |             |
|   |Mr. Jim      |
|   |Hamlin       |

